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EXHIBIT A
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SETTLEMENT AGREEMENT AND GENERAL RELEASE

This Settlement Agreement and General Release (the “Agreement”) is made and entered into by
and between Sebastian Rojas (“Plaintiff”), on one hand, and Uber Technologies, Inc., Rasier,
LLC, Rasier-CA, LLC, Rasier-PA, LLC, Rasier-DC, LLC, Rasier-MT, LLC, and Hinter-NM,
LLC (collectively “Uber”), on the other hand. As set forth in this Agreement, Plaintiff and Uber
(collectively referred to herein as the “Parties”) hereby resolve any and all claims and/or disputes
Plaintiff has or may have against Uber.

RECITALS
A. Uber is a technology company that offers a smartphone application (the “App”).

B. Plaintiff entered into a contract with Rasier, LLC and Rasier-DC, respectively, to
access and use the App as a driver.

Cc. On or around August 26, 2016, Plaintiff filed an FLSA Collective Action
Complaint against Uber, entitled “Sebastian A. Rojas, on behalf of himself and on
behalf of all other similarly situated versus Uber Technologies, Inc., bearing Case
No. 16-cv-23670 in the United States District Court for the Southern District of
Florida. Plaintiff filed a First Amended Complaint on or around October 17,
2016. On March 13, 2017, Plaintiff filed a Second Amended Complaint, which
added Rasier, LLC, Rasier-CA, LLC, Rasier-PA, LLC, Rasier-DC, LLC, Rasier-
MT, LLC, and Hinter-NM, LLC as defendants. The Complaint, First Amended
Complaint, and the Second Amended Complaint are collectively referred to
herein as the “Complaint.” In the Complaint, Plaintiff alleges that Uber
misclassified him as an independent contractor, and asserts wage and hour claims
under the Fair Labor Standards Act (“FLSA”).

D. The term “Released Parties” shall include Uber, Uber’s present and former parent
companies, subsidiaries, affiliates, directors, officers, employees, agents,
representatives, investors, shareholders, insurers and attorneys, and all persons
connected with them (whether or not acting within the scope of their duties).

E. The Released Parties deny any wrongdoing, and contend that their treatment of
Plaintiff was at all times appropriate, lawful, and consistent with the terms of any
and all agreements between the Parties.

F, Regardless of the disagreement between the Parties, the Parties desire to avoid the
costs of litigation, and have therefore agreed to settle and resolve completely and
finally Plaintiff's Complaint, and any other disputes Plaintiff may have against the
Released Parties, without any admission of liability.

TERMS OF AGREEMENT

NOW, THEREFORE, for and in consideration of the mutual covenants, conditions, promises and
agreements contained herein, the Released Parties and Plaintiff agree as follows:

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1. NONADMISSION OF LIABILITY. This Agreement is a compromise
and general release of all claims, known or unknown and does not constitute an admission of
liability by the Released Parties or an admission, directly or by implication, that any of them
have violated any law, rule or regulation, or any contractual right, or any other duty or obligation
of any kind, including any duty or obligation owed to or allegedly owed to Plaintiff or any other
party. This Agreement shall not in any way be construed as an admission that the Released
Parties or any of their representatives misclassified Plaintiff as an independent contractor or
acted wrongfully with respect to Plaintiff or any other person, but shall be construed strictly as
an instrument to avoid litigation. This Agreement shall not in any way be construed as an
admission or evidence that Plaintiff is or was an employee or agent of Released Parties. This
Agreement is not admissible to prove liability for or the validity of any claims that relate, refer,
or pertain to the subject matter of this Agreement.

2. MONETARY CONSIDERATION. In exchange for the promises
contained herein, including Plaintiff's release of all claims against the Released Parties as
described herein, and provided that the Court approves the Parties’ Settlement and dismisses the
litigation with prejudice, and Plaintiff has not exercised his right of revocation and has otherwise
complied with the conditions precedent to payment described below, the Released Parties shall
issue payment to Plaintiff and Plaintiff's Counsel in the total amount of Twenty Nine Thousand
Dollars ($29,000) (the “Settlement Amount”), to be allocated as set forth in subparagraph (a).

a. The Settlement Amount shall be paid by check issued by Uber
made payable as set forth below. No tax deductions shall be taken
from the amount and all parties receiving checks will receive IRS
1099s,

(1) Plaintiff Sebastian Rojas: Sixteen thousand dollars and zero
cents. ($16,000.00). This amount reflects alleged wage
based damages plus additional consideration for the
promises and covenants set forth in this Agreement.

(2) ‘Plaintiff's Counsel. Thirteen Thousand dollars and zero
cents ($13,000.00). This amount reflects a complete
resolution of any fees and costs incurred by Plaintiff and
Plaintiff's counsel in this case.

b. Released Parties shall also pay the cost of the mediation of this
cause that occurred on July 26, 2017. Plaintiff further
acknowledges that the Settlement Amount and Released Parties’
payment of the cost of mediation are the only payments that are
due from Released Parties under this Agreement and that, other
than the Settlement Amount and the cost of mediation, Released
Parties shall have no further payment obligation of any kind to
Plaintiff for any other payment of any kind, including, but not
limited to, attorneys’ fees and costs, and Plaintiff hereby waives
any claim to other payment of any kind whatsoever. Except as
specifically set forth herein, Plaintiff and Released Parties each

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agree to bear their own fees, costs and expenses incurred in
connection with Plaintiffs Complaint.

c. The Settlement Amount shall be delivered to (and received by)
Plaintiff's counsel, Adam M. Myron, Esq., Richman & Greer, PA,
One Clearlake Center, Suite 1504, 250 Australian Avenue South,
West Palm Beach, FL 33401 within seven (7) days after counsel
for Uber (/.e., Jessica T. Travers, Esq., Littler Mendelson PC) is in
physical receipt of all of the following items: (i) an executed copy
of this Agreement, (ii) a completed and signed IRS form W-9 from
Plaintiff and from Plaintiff's Counsel; (iii) a fully executed joint
motion to approve the settlement and dismiss the case with
prejudice (which shall be filed by or before 5:00 p.m. on July 27,
2017); and (iv) an order from the Court approving the Parties’
settlement and dismissing the case with prejudice. Plaintiff agrees
to cooperate with defense counsel to secure approval of the
settlement and a dismissal of his Second Amended Complaint with
prejudice.

3. TAX TREATMENT. Released Parties make no representations or
warranties regarding the taxability or non-taxability of the Settlement Amount, and Plaintiff
understands and agrees that he is responsible for obtaining his own professional advice on such
issues. Should the proceeds payable to Plaintiff be treated as taxable to Plaintiff, he agrees that
he will assume and be responsible for all such tax obligations or consequences that may arise,
and he shall not seek any indemnification from the Released Parties in this regard.
Notwithstanding the foregoing, if any claim is asserted against a Released Party by any taxing
authority with respect to this payment, Plaintiff understands and agrees that he shall be liable for
his own individual portion of any taxes owed.

4. RELEASE OF CLAIMS.

a. Release of Claims by Plaintiff. Plaintiff, on behalf of himself, his
business endeavors, his offspring, heirs, administrators,
representatives, executors, successors, and assigns, hereby
irrevocably and unconditionally releases and forever discharges the
Released Parties from all claims of any nature whatsoever, known
or unknown, suspected or unsuspected, foreseen or unforeseen,
that Plaintiff now has or asserts to have, or which Plaintiff at any
time heretofore had, or asserted to have, against the Released
Parties concerning any aspect of Plaintiff's relationship with
Released Parties. The term “claims” includes any claim or cause
of action, regardless of the forum in which it may be brought, and
includes, but is not limited to, any claim relating to alleged
misclassification as an independent contractor, breach of express
or implied contract, breach of the covenant of good faith and fair
dealing, breach of any obligation arising out of any law or public
policy of the United States of America, the State of Florida or any

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other governmental entity, discrimination or harassment on the
basis of race, sex, sexual preference, gender identity, age, national
origin, religion, medical condition, disability, marital status or
otherwise (including but not limited to claims under the Civil
Rights Acts of 1866, 1964 and 1991, the Age Discrimination in
Employment Act of 1967, any amendments to the foregoing, or
any other federal, state, county or local law, ordinance, regulation
or order relating to employment or his status as independent
contractors), unpaid wages (including, but not limited to, any and
all alleged violations of the Florida’s Minimum Wage Act, the
Florida Constitution, the federal FLSA and/or local ordinance),
expenses, gratuities, and benefits, unfair business practices,
intentional or negligent infliction of emotional distress, fraud,
misrepresentation, defamation, interference with contract or other
interests, or any other claims or causes of action for damages of
any nature, including without limitation, actual, compensatory,
punitive, and liquidated damages, penalties, and attorneys’ fees,
costs and expenses.

(1) With regard to the Released Parties, Plaintiff expressly
waives and releases to the maximum extent allowed by law any and all claims, known or
unknown, that may have accrued on or before the date he executed this Settlement Agreement,
regarding any amount allegedly owed to him for services he performed during their contractual
relationship with the Released Parties.

(2) With regard to the Released Parties, Plaintiff also waives
and releases to the maximum extent allowed by law all monetary and other relief that may be
sought on his behalf by other persons or agencies. The sole exclusions from this release shall be
the consideration provided in exchange for this Agreement, any claim that cannot be waived by
private agreement under federal, state, or local law, including such claims for worker’s
compensation, unemployment insurance, indemnity or any claim that arises after Plaintiff signs
this Agreement, any claims under the National Labor Relations Act, and any claims that may
arise after the effective date of this Agreement.

b. Release of Claims by Uber. Uber hereby fully releases, acquits,
and forever discharges Plaintiff, his heirs, executors,
administrators, and assigns, of any and all claims, liabilities, causes
of action, damages, costs, attorneys’ fees, expenses and
compensation whatsoever arising in law or equity under federal,
state, or local law, that arose prior to the effective date of this
Settlement Agreement. Plaintiff certifies that he has not engaged in
any conduct that, to his knowledge, could give rise to such claims.

c. Nothing in this Agreement shall be construed to limit any party or
its representatives from any affirmative legal duty to report or
disclose information.

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5. PURSUIT OF CLAIMS. Plaintiff understands that this Agreement will be
final and binding. He hereby promises that he will not pursue any claim that he has settled by
this Release. Plaintiff agrees that if he breaks this promise, he will pay all of the Released
Parties’ costs and expenses (including reasonable attorneys’ fees) related to the defense of any
such claims.

6. NON-DISPARAGEMENT. Plaintiff agrees not to make any disparaging
statements to any person or entity about any of the Released Parties and/or any of their directors,
officers, or employees, or otherwise attempt to injure or interfere with Released Parties’
reputation, affairs or business. Uber agrees to make a good faith effort to prevent disparaging
statements about Plaintiff, or otherwise attempt to injure or interfere with Plaintiff’s reputation,
affairs or business, by Uber’s executives and managers located in Miami, Florida.

7. COOPERATION/NO VOLUNTARY ASSISTANCE.

a. Plaintiff agrees to fully cooperate with Uber and their counsel in
connection with and to successfully effectuate the dismissal with
prejudice of all of Plaintiff's claims and causes of action against
Uber in the Complaint.

b. Plaintiff, on behalf of himself and/or his agents, agrees that,
except as required by law, they shall not assist any other person or
entity in the initiation or prosecution of any demand, claim, action,
cause of action, proceeding or litigation against Uber, including
any claims filed in state or federal court.

8. NO PUBLICATION.

a. Plaintiff agrees that he, neither individually nor through his
counsel, shall not discuss, publish, distribute or post on any social
media, website, blog or otherwise, or issue any press release
concerning, the terms of this settlement, the Agreement, or the
outcome of this action. Plaintiff agrees not to cooperate with o(G)
comment in response to any media inquiries directed at them in
connection with the Complaint, Uber, or his relationship with Uber
as it relates to this legal action, other than to state, “No Comment”
or “The matter has been resolved.” Plaintiff cannot circumvent
this provision by having a third party, including his counsel,
respond to such an inquiry on Plaintiff's behalf. Nothing in this
Agreement shall prohibit any party from disclosing information to
the Court in connection with their efforts to obtain approval of the
settlement. Parties may disclose the terms of this Agreement to
their attorney(s), accountant(s), tax advisor(s), the Internal
Revenue Service, individuals who need to know in the ordinary
course of business, or as otherwise required by law.

b. Plaintiff represents and warrants that, as of the date he signs this

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Agreement, he, neither individually nor through his counsel, has
violated the terms and conditions of this No Publication provision.
The terms of this Agreement shall not be admissible or submitted
as evidence in any litigation, in any forum, for any purpose, other
than to secure enforcement of the terms and conditions of this
Agreement, or as may otherwise be required by law.

9. REPRESENTATIONS AND WARRANTIES.

a. Plaintiff represents and warrants that he has the requisite authority
and full legal and mental capacity to execute this Agreement.

b. Plaintiff represents and warrants that he has had the opportunity to
consult with, and have consulted with, counsel in connection with
his decision to execute this Agreement, and that he has entered into
this Agreement freely and voluntarily, and recognizes this
Agreement as a valid and binding obligation.

c. Plaintiff represents and warrants that he has been properly named
in this Agreement.

d. Plaintiff further represents and warrants that he has not assigned
his rights to any other party, and has not and will not enter into any
assignments or agreements for the purposes of allowing any other
party to assert a claim against any of the Released Parties arising
out of the matters in the Complaint.

10. NO INTERFERENCE WITH RIGHTS. Nothing in this Agreement is
intended to waive claims that cannot be released by private agreement. In addition, nothing in
this Agreement including but not limited to the obligations set forth in the No Publication
provision, acknowledgements and promise not to sue, arbitration, and attorneys’ fees provisions,
prevent Plaintiff from filing a charge or complaint with or from participating in an investigation
or proceeding conducted by the Equal Employment Opportunity Commission, National Labor
Relations Board, the Securities and Exchange Commission, or any other any federal, state or
local agency charged with the enforcement of any laws, including providing documents or other
information, or from exercising rights under Section 7 of the NLRA to engage in protected,
concerted activity with other employees, although by signing this release Plaintiff is waiving
rights to individual relief or recovery based on claims asserted in such a charge, complaint, or
lawsuit brought by Plaintiff or asserted by any third-party on Plaintiff's behalf.

11. DISPUTES.

a. It is further expressly understood and agreed by the Parties hereto
that if, at any time, a violation of any term of this Agreement is
asserted by any party herein, said party shall have the right to seek
specific performance of said term and/or any other necessary and

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proper relief, including, but not limited to, damages, and the
prevailing party shall be entitled to reasonable costs and attorneys’
fees.

b. Plaintiff acknowledges this Agreement shall be governed by and
construed in accordance with the laws of Florida, without regard to
its choice of law principles. The Parties agree that any dispute
relating to any aspect of this Agreement, including but not limited
to this Agreement’s formation, meaning, performance, or breach,
including any claim for breach of the No Publication provision,
shall be submitted exclusively to final and binding arbitration
before a mutually agreed upon arbitrator in accordance with the
Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, ef seg. Any such
arbitration shali be confidential. The arbitration will be
administered by the American Arbitration Association (“AAA”) in
accordance with the Commercial Arbitration Rules. The arbitrator
will be selected by the Parties from the AAA’s roster of
commercial dispute arbitrators. The arbitration will be conducted
in the county where Plaintiff resides.

12. SUCCESSORS. It is further expressly understood and agreed by the
Parties hereto that this Agreement shall be binding upon and will inure to the benefit of
Plaintiff's heirs, successors, agents, executors, and administrators if any, and will inure to the
benefit of the individual and/or collective successors, assigns, fiduciaries and insurers of the
Released Parties, their present and former affiliated business entities, their successors, assigns,
fiduciaries and insurers, and all of their present and former proprietors, partners, shareholders,
directors, officers, employees, agents, and all persons acting by, through, or in concert with any
of them.

13. ASSIGNMENT. Plaintiff represents and warrants to the Released Parties
that he has not heretofore assigned or transferred, or purported to assign or transfer, in whole or
in part, to any person or entity, any claim which is released by this Agreement. Plaintiff
represents and agrees that he will not assign, transfer, or purport to assign or transfer, any such
claims or portions thereof, and warrants and agrees that he will immediately revoke and
terminate any purported assignment or transfer of said claims, or portions thereof or interest
therein, that may at any time be alleged. Plaintiff will not assign, sell or otherwise transfer or
encumber any of Plaintiff's rights, duties or obligations under this Agreement.

14. ACCOUNT DEACTIVATION. In exchange for the promises contained
herein, Plaintiff agrees that, because of circumstances unique to him (including his irreconcilable
differences with the Released Parties) that upon approval of the Parties’ settlement agreement, he
will no longer be qualified to provide transportation services using the Uber App now or in the
future and promises that he will not attempt to contract for or accept any contract to provide
delivery services, transportation services, or other services using the Uber App now or in the
future. Plaintiff agrees that Uber may lawfully permanently deactivate Plaintiff's accounts
associated with the provision of service of any kind at any time after the date on which they sign
this Agreement. In the event the Parties’ settlement is not approved by the Court with a

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concomitant dismissal of the case with prejudice, Uber agrees to reactivate Plaintiff's driver
account within 24 hours of entry of a Court order denying approval of this Agreement.

15. NO FUTURE RELATIONSHIP. In exchange for the promises contained
herein, Plaintiff acknowledges and agrees that at no time in the future will Plaintiff seek to or
enter into an independent contractor or employment relationship with any of the Released Parties
or any of their subsidiaries or successors. Plaintiff further agrees that any of the Released
Parties’ failure to contract with or hire him shall not constitute a violation of any local, state, or
federal law, order, or regulation; and that the Released Parties are entitled to terminate Plaintiff's
service contract or employment without legal consequence in the event Plaintiff enters into such
a relationship in the future.

16. CONSTRUCTION. All Parties reviewed and approved the language of
this Agreement. Accordingly, the language of this Agreement shall be construed according to its
fair meaning and not strictly for or against any of the Parties. Should any provision of this
Agreement be declared or determined by any court of competent jurisdiction to be illegal,
invalid, or unenforceable, the legality, validity, and enforceability of the remaining parts, terms
or provisions shall not be affected thereby and said illegal, unenforceable or invalid part, term or
provision shall be deemed not to be a part of this Agreement.

17, MODIFICATION. This Agreement can be modified only in the form of a
writing signed by the Parties hereto. There shall be no oral agreements between the Parties
concerning the subject matter of this Agreement. The failure of any party to enforce any
provision of this Agreement shall not be construed as a waiver of such provision or acquiescence
to the modification of such provision.

18. ENTIRE AGREEMENT. This Agreement constitutes the entire agreement
of the Parties relating to the rights herein granted and the obligations assumed. The terms of this
Agreement are contractual and not a mere recital. This Agreement is executed without reliance
upon any representation by the Released Parties, or any representative thereof, regarding the
subject matter, basis or effect of this Agreement or otherwise, other than as specifically stated in
this written Agreement.

19. COUNTERPARTS. This Agreement may be executed in counterparts,
each of which when so executed shall be deemed to be an original, and such counterparts
together shall constitute one and the same Agreement. A faxed or electronically transmitted
signature shall bear the same force and effect as an original signature.

20. ACKNOWLEDGEMENTS. To the extent applicable, Plaintiff specifically
understands and hereby acknowledges that he is releasing and waiving any and all claims that he
may have under the Age Discrimination in Employment Act of 1967, 29 U.S.C. §621, et seq., as
amended (“ADEA"), and by executing this Agreement represents that:

a. Plaintiff was afforded a full twenty-one (21) days within which to
consider this Agreement before executing it, and if executed in less
than twenty-one (21) days, the decision to do so was entirely
voluntary on Plaintiff's part and not the result of duress or

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coercion;

b. Plaintiff has carefully read and fully understands all of the
provisions of this Agreement;

c. Plaintiff is, through this Agreement, releasing the Released Parties
from any and all claims Plaintiff may have against the Released
Parties;

d. Piaintiff is knowingly and voluntarily agreeing to all of the terms
set forth in this Agreement and to be bound by the same;

e. Plaintiff was advised and hereby is advised in writing to carefully
consider the terms of this Agreement and consult with an attorney
of Plaintiff's choice prior to executing this Agreement;

f. Plaintiff has a full seven (7) days following the execution of this
Agreement to revoke the Agreement and has been and hereby is
advised in writing that this Agreement shall not become effective
or enforceable until the seven (7) day revocation period has
expired;

g. For revocation to be effective, notice of revocation must be
submitted in writing, signed by Plaintiff, and timely delivered by
first class mail to counsel for Uber, attention: Jessica T. Travers,
Esq., 333 SE 2nd Ave, Suite 2700, Miami, FL 33131; and

h. Plaintiff understands that rights or claims under the ADEA
thatmay arise after the date this Agreement is executed are not
waived.

IN WITNESS WHEREOF, the Parties execute this Agreement as of the dates set forth opposite
their names.

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SEBASTIAN ROJAS UBER TECHNOLOGIES, INC., RASIER-
PA, LLC, RASIER-MT, LLC, RASIER-DC,
LLC, RASIER, LLC, AND HINTER-NM,

acl LLC

By: WE A ass .

Dated: ft -2ZO-—/J By: aoe eR as
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